Case 1:17-cv-04327-LLS-RWL Document 103 Filed 09/09/19 Page 1 of 2
GUAGLARDI & MELITI, L.L.P.

Attorneys At Law
A Limited Liability Partnership

BARRY S. GUAGLARDI 4 365 WEST PASSAIC STREET, SUITE 130 JASON S. NUNNERMACKER ¢
MICHAEL P. MELITI A ROCHELLE PARK, NJ 07662 FRANCES OLIVERT &
KRISTEN E. SCHREIB &
TELEPHONE: 201-947-4100 EVAN A. OSTRER &
FACSIMILE: 201-947-1010 MYLES M. MISSIRIAN ¢
FACSIMILE: 201-843-5302
* NJBAR
111 MAIN STREET A NI&NY BAR
P.O. BOX 509
CHESTER, NY 10918
TELEPHONE: 845-576-0600
FACSIMILE: 845-576-0601
DIRECT DIAL: 201-374-9091
FOLIVERI@ADGMLAW.COM
WEBSITE: WWW.ADGMLAW.COM
September 9, 2019

VIA EMAIL (Lebrburger_ NYSDChambers@nysd.uscourts.gov)

Honorable Robert W. Lehrburger, U.S.M.J.
U.S. District Court of New York

United States Courthouse

500 Pearl Street,

New York, NY 10007

Re: Michael Dardashtian, et al. v. David Gitman, et al.
17-cv-4327

Dear Judge Lehrburger:

Please accept this correspondence on behalf of Plaintiffs, Michael Dardashtian
(“Dardashtian”), individually, and on behalf of Cooper Square Ventures (“CSV”) and
ChannelReply (“CR”) (collectively referred to as “Plaintiffs” or “Plaintiff Companies”). We
write to respectfully request that Your Honor enter the enclosed Confidentiality Order and to
schedule a conference call at Your Honor’s early convenience to address scheduling issues.

The enclosed Confidentiality Order was previously prepared and signed by all counsel
but was not filed with the Court for entry. The undersigned inquired with Defendants as to
whether they would be submitting the executed Confidentiality Order and [ have been unable to
receive a response. I am accordingly submitted same to Your Honor at this juncture for entry on
notice to counsel for Defendants.

It is also respectfully-requested that a conference call be scheduled with Your Honor, at
Your Honer’s earliest convenience, to address scheduling issues in hopes to avoid motion
practice and ensure completion of discovery.

Thank you for Your Honor’s attention to this matter.

1
Case 1:17-cv-04327-LLS-RWL Document 103 Filed 09/09/19 Page 2 of 2

Respectfully Submitted, |

| CUAGL ARI & M

Evan Ostrer

  

Cc: Brian S. Cousin, Esq.
Lindsay F. Ditlow, Esq.
Mark Meredith, Esq.
Barry S. Guaglardi, Esq.
